EVERGREEN ROAD LAND CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Evergreen Road Land Co. v. CommissionerDocket No. 21644.United States Board of Tax Appeals16 B.T.A. 1042; 1929 BTA LEXIS 2460; June 13, 1929, Promulgated *2460  Assessment and collection of additional tax involved herein are barred by the statute of limitation, and there is no deficiency.  Don F. Reed, Esq., for the petitioner.  C. H. Curl, Esq., and A. H. Murray, Esq., for the respondent.  MARQUETTE *1042  This proceeding is for the redetermination of a deficiency in income and profits tax asserted by the respondent for the fiscal year ended May 31, 1921, in the amount of $2,070.93.  The issue is whether assessment and collection of said additional tax are barred by the statute of limitation.  FINDINGS OF FACT.  The petitioner is a Michigan corporation with its principal office at Grand Rapids, Mich.  On July 26, 1921, it filed an income and profits-tax return for the fiscal year ended May 31, 1921, as required by the provisions of the Revenue Act of 1918, and paid the tax shown on the return.  Said return was not false or fraudulent with intent to evade payment of tax.  No other return was filed by or on behalf of the petitioner either before or after the enactment of the Revenue Act of 1921.  On October 5, 1926, the respondent assessed additional taxes in the amount of $2,070.93 against the*2461  petitioner for the fiscal year ended May 31, 1921.  No portion of said additional tax determined and claimed by the respondent for said fiscal year resulted from any change or difference in the Revenue Act of 1921 from the Revenue Act of 1918.  The deficiency letter herein was mailed to the petitioner on October 5, 1926.  No proceeding looking to the collection of said additional tax has been had other than the issuing of the deficiency letter.  *1043  OPINION.  MARQUETTE: This case is similar in its facts to and identical in principle with , and on the authority of the decision therein we hold that the return filed by the petitioner on July 26, 1921, was a legal return for the fiscal year ended May 31, 1921, and operated to start the running of the four-year period for assessment and collection provided by section 250(d) of the Revenue Act of 1921.  That period expired July 26, 1925, and the assessment made by the respondent on October 5, 1926, was, therefore, of no force or effect.  Assessment and collection of the additional tax are barred by the statute of limitation and there is no deficiency. *2462  See, also, ; . Judgment of no deficiency will be entered.